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                                                                   STATE OF TEXAS
  PERSONNEL ACTION FORM                                                                                                                               Page 1 of 1

  PAF #                             7-TINS                         OAG ID                       Name

  00024515                          70075790553                                                 Stone, Judd E

  Action(s)                                                        Reason Code(s)               Effective Date of Action             Current Status

  Voluntary Separation                                             060                          10/17/2023      /   10/18/2023       Completed


                                                           FROM                                                                  TO

  Dept ID/Name                          H100000              /           Solicitor General                                       /

  Location                                                  059

  Position #                                              00042472

  EEO/FLSA                                   A               /                    E                                              /

  Hours                                   40.00              /                 Reg                                               /

  Pay Group/Step                             B34             /                                                                   /

  Salary                               $20,437.50            /             $245,250.00                                           /

  Class (PCA)                                              10026

  Job Code                                                 1642A

  Job Title                   Deputy Attorney General        /           Solicitor General                                       /

  Mg/Su Flag                                                 M

  Reports To                            00043378             /            Brent Webster                                          /

  Stipends                                                   /                                                                   /

  Hazardous Duty                                            No

  Comments                                                                                                              % Pay Increase           One-Time Merit Amt



                                                                                                                      Last Day Physically
                                                                                                                                                   Payable Hours
                                                                                                                            Worked

                                                                                                                         10/17/2023

  Posting #       Direct Transfer                   Employee Replaced

                                                                              /                        /



  Approval Step                      Assigned To                     Actual Approver              Status                              Date/Time

  Approval Request Submitted         Shelli Gustafson                Shelli Gustafson             Submitted                           10/17/2023 08:00:38 PM

  Chief of Staff Approval            Lesley French-Henneke           Lesley French-Henneke        Approved                            10/17/2023 10:08:56 PM

  Approval Request Submitted         Shelli Gustafson                Shelli Gustafson             Submitted                           10/18/2023 05:51:08 PM

  HR Director Approval               ePAF HR Approvers               Shelli Gustafson             Approved                            10/18/2023 05:51:48 PM

  Budget Approval                    Karen Haywood                   Karen Haywood                Approved                            10/19/2023 07:52:51 AM




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